Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 1 of 35
FlLED lN MY OFFlcE

DlSTR|CT COURT CLERK
10/25/2017 5:00:32 PM
James A. Noel
Catherine Chavez
STATE OF NEW MEXICO
COUNTY OF BERNALILLO

SECOND JUDICIAL DISTRICT COURT

Case NO.: D-ZUZ-CV-2017-_ D-ZOZ-C\(;g_O17-O7661
LEONARD MARTINEZ,

Plaintiff,
vs.
CITIM§ORTGAGE, INC, a successor in interest by
Merger to ABN AMRO Mortgage Group, Inc.; DITECH FINANCIAL, LLC, and
SHELLPOINT MORTGAGE SERVICING,

Defendant.

COMPLAINT FOR v_IoLATIoN oF THE UNFAIR PRACTIC_E__,S ACT,=
OCEDURES_ ACT

   

 

COMES NOW, Leonard Ma.rtinez (“Horneowner”) by and through his attorneys, Eric Ortiz &
Associates (Eric N. Ortiz, Esq.), and for his Complaint against Defendants CitiMortgage, Inc.,
successor in interest by merger to ABN AMRO Mortgage Group, lnc. (herein “CitiMoltgage,

Inc.”), Ditech Financial, LLC and Shellpoint Mortgage Servicing (“Shellpoint”) does state:

1. Leonard Martinez is a resident of Bernalillo County, State of New Mexico.

2. CitiMortgage, Inc. is an entity doing business in the State of New Mexico, County
of Bemalillo.

3. Ditech Financial, LLC is an entity doing business in the State of New Mexico,

County of Bemalillo.

4. Shellpoint is an entity doing business in the State of New Mexico, County of

Bernalillo.

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 2 of 35

5. The property that is the subject of this litigation is located in Bernalillo County,
State of New Mexico.

6. Jurisdiction and venue are proper in the Second Judicial District for the State of
New Mexico.

7. Homeowner acquired the subject property and obtained a mortgage note from ABN
AMRO Mortgage Group, Inc. against the property on September 17, 2003.

8. The Note is owned by FHLMC VPC 198746.

9. The real estate securing the note (herein “Note” and attached as “Exhibit A”) is
commonly known as: 34 Vallecitcs Tijeras, NM 87059.

10. Shellpoint is the current servicer of the Note and became servicer of the Note
effective June 16, 2017.

ll. CitiMortgage, Inc. is a prior servicer of the Note.

12. Ditech Financial, LLC is a prior servicer of the Note.

13. Around December 2015, Homeowner entered into a Trial Payment Plan for the
purposes of obtaining a loan modification from CitiMortgage, Inc. See “Exhibit B”,
Correspondence from CitiMortgage, Inc. dated December 14, 2015, (herein “TPP”).

14. The TPP states “If you successfully complete the Trial Period Plan by making the
required payments, you will receive a modification with a fixed term of 40 years from the date the
modification is effective.” See “Exhibit B”.

15. Homeowner made the first payment of $2,023.96 on or around 12/24/2015. See
“Exhibit C”, Loan History Summary, Page 4.

l6. Homeowner made three more payments in compliance with the terms of the TPP:

(l) the second payment on or around January 25, 2016 in the amount of $2,023.96; (2) the third

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 3 of 35

payment on or around February 25, 2016 in the amount of $2,023.96; and (3) a fourth payment on
or around April 12, 2016 in the amount of $2,023.96. See “Exhibit C”, Loan History Summary,
Page 4.

17. On January 22, 2016 Homeowner received correspondence from CitiMortgage
reminding him to make payment toward the Modification. See Exhibit D.

18. On February 22, 2016 Homeowner received correspondence from CitiMortgage
reminding him to make payment toward the Modification. See Exhibit E.

19. On April 11, 2016, Homeowner received correspondence from CitiMortgage
stating the “The Repayment/Forbearance plan on your account has been removed.” See Exhibit F.

20. On April 29, 2016, CitiMortgage sends correspondence to Homeowner that his
mortgage loan is being transferred from CitiMortgage to Ditech Financial, LLC, See Exhibit G.

21. On or around May 11, 2016 CitiMortgage sent a letter to borrower stating that the
loan will, in fact, not be transferred as it previously stated. See Exhibit H.

22, However, shortly thereafter, on July 1, 2016, CitiMortgage sent more
correspondence that the loan would be transferred to Ditech Financial, LLC. See Exhibit l.

23. On August 1, 2016, Homeowner received correspondence from Ditech Financial,
LLC acknowledging the service transfer. See Exhibit J.

24. On August 2, 2016, Homeowner made a payment of 32023.96 to Ditech by phone.
(Conflrmation number 149072328).

25. Homeowner made a total of $4047.92 in payments to Ditech. On or around
November 10, 2016, Homeowner was told that he was not eligible for the account modification

Ditech sent Homeowner a letter stating that foreclosure proceedings had been initiated. See Exhibit

K.

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 4 of 35

26. 'l`he loan was transferred to Shellpoint who started servicing the Note effective J urie
16, 2017. Shellpoint failed to recognize of honor the TPP offered by CitiMortgage

27. lnvestor, and its agent CitiMortgage, Inc., became subject to the loan modification
agreement when it entered into the agreement with Homeowner and accepted the TPP payments

28. Investor, and its agent CitiMortgage, lnc., became subject to the loan modification
agreement when it accepted the fourth payment in April 2016.

29. Ditech Financial, LLC violated the TPP agreement when it refused to honor the
agreement after it became servicer of the loan.

30. Shellpoint violated the TPP agreement when it refused to honor the agreement after
it became servicer of the loan.

31. All three servicers violated the TPP agreement when Ditech Financial, LLC and
Shellpoint, as its agents, refused to honor the agreement after three payments were made in
compliance with the TPP and fourth payment was accepted by CitiMortgage, Inc.

32. CitiMortgage7 lnc., Ditech Financial, LLC and Shellpoint withheld the benefits of
the bargain it made with the Homeowner when it refused to honor the TPP it had already entered
into.

33. CitiMortgage, Inc., Ditech Financial, LLC and Shellpoint’S refusal to honor the
TPP resulted in severe emotional distress to the Homeowner, loss of credit, the loss of his Q
Clearance which was used to conduct his business and accordingly loss of income, loss of equity
in the property, attomey’s fees and other damages as which will be proven at trial.

COUNT I: UPA VIOLATION BY CITIMORTGAGE, INC

34. Homeowner re-incorporates the preceding paragraphs of his Complaint as if fully

alleged herein

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 5 of 35

35. CitiMortgage, lnc. is a person within the meaning of the Unfair Trade Practices Act
(“UPA’,’), NMSA 1978, § 57-12-2(B).

36. CitiMortgage, lnc. participates in trade or commerce related to the servicing of
mortgage loans directly or indirectly affecting the people of this state within the meaning of the
UPA, NMSA 1978, § 57-12-2(C).

37. CitiMortgage, lnc. is a provider of services related to the servicing of mortgage
loans in the regular course of its trade or commerce within the meaning of the UPA, NMSA 1978,
§ 57-12~-2(D).

38. The Homeowner is a person and consumer within the meaning of the UPA.

39. CitiMortgage, lnc. represented, as described in 1[14, that it would modify the
Homeowner’s loan if Homeowner made the required payments CitiMortgage, lnc. then accepted
the Homeowner’s payments toward the TPP from December 2015 to Apri12016. The lnvestor, as
owner of the Note, was and is bound by its servicer’s representations to the Homeowner in the
ordinary course of business

40. The representations made by CitiMortgage, Inc. were made within the ordinary
course of business

41. Homeowner was led to believe he had modified his home loan with CitiMoitgage,
lnc. and relied on that representation when he made the TPP payments

42. Homeowner suffered damages as the result of such reliance, including loss of
payments made, loss of equity, attomey’s fees and emotional distress

43. Homeowner is therefore entitled to an award of the actual and compensatory

damages in an amount to be decided by the Court.

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 6 of 35

COUNT II: BREACH OF CONTRACT AGAINST CITIMORTGAGE, INC., DITECH
FINANCIAL, LLC AND SHELLPOINT

_44. Homeowner re-alleges and re-incorporates the preceding paragraphs of his
Complaint as if fully alleged herein.

45. The terms of the TPP clearly states that a modification will be given to Homeowner
upon the successful completion of the three payments CitiMortgage breached the agreement when
it told the Homeowner he was no longer qualified for loan modification

46. Ditech Financial, LLC and Shellpoint were obligated'to honor the TPP contract
when they assumed servicing for the loan. They refused to honor the contract when they refused
to implement a loan modification for Homeowner after accepting four payments from Homeowner.

COUNT III: BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR

DEALING AGAINST CITIMORTGAGE, DITECH FINANCIAL, LLC AND

SHELLPOINT

`47. Homeowner re-alleges and re-incorporates the preceding paragraphs of his
Complaint as if fully alleged herein.

48. CitiMortgage, lnc., Ditech Financial, LLC and Shellpoint have a duty of good faith
and fair dealing concerning the TPP.

49. Upon information and belief each servicer knew or should have known that
CitiMortgage had made a legally binding TPP offer and accepted payments from the Homeowner
after making that offer and made no good faith effort to investigate or honor the TPP with a reckless
disregard for the homeowner’s property interests

50. The aforementioned acts and omissions of CitiMortgage, Inc., Ditech Financial,
LLC and Shellpoint are inconsistent with the Investor’s obligation to achieve the common purpose

of modifying the loan pursuant to the terms of the TPP, to which Homeowner complied.

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 7 of 35

51. Where a party intentionally or recklessly withhold the benefits of a bargain from

the other contracting party, it violates the implied covenant of good faith and fair dealing
COUNT IV - VIOLATION OF THE REAL ESTATE SETTLEMENT PROCEDURES
ACT (“RESPA”) AGAINST CITIMORTGAGE, INC.

52. Homeowner re-alleges the preceding paragraphs as if fully alleged herein.

53. CitiMortgage, lnc. is the servicer of a home loan within the meaning of 12 U.S.C.
§ 2605(i)(2).

54. CitiMortgage, Inc. must comply with the regulations promulgated by the Consumer
Financial Protection Bureau pursuant to 12 U.S.C. § 2605(k)(1)(E).

55. Those regulations include 12 C.F.R. § 1024.41 which states among other things that
a servicer shall issue a denial notice to a borrower when a loss mitigation option is denied with the
specific reason for the denial (which must be true), that the consumer shall be advised of his or her
right to appeal the denial, and also that a servicer shall not make a referral to foreclosure

56. Homeowner has a private right of action under the Real Estate Settlement
Procedures Act (“RESPA”) pursuant to 12 U.S.C. § 2605(f), to recover actual and statutory
damages as well as attomeys’ fees

57. RESPA is consumer protection legislation and therefore must be liberally and
broadlyE construed in favor of consumers to effectuate its purpose.

58. Exhibit F, attached hereto, constitutes a denial that does not comply substantively
with 2605(k)(1)(E).

59. CitiMortgage, lnc. violated RESPA by failing to send Homeowner a denial notice

as required by 12 C.F.R. § 1024.41.

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 8 of 35

60. If Homeowner had been given the right to appeal the denial, he would have done
so.

:6_1. A denial notice must clearly describe the right to appeal the denial pursuant to 12
C.F.R. § 1024.41(0)(ii).

62. Homeowner has experienced actual and personal damages including ongoing
damage to his credit, loss of a Q Clearance and subsequent loss of income, accruing interest, late
fees and other default related fees such as property inspection fees and attomeys’ fees imposed by
lnvesto`r as principal and its servicers as agents (prior or current) and emotional distress, physical
manifestations of such distress, and the ongoing time and effort to continue to attempt to pay his
mortgage.

63. Wherefore CitiMortgage, lnc. is liable to Homeovwier for actual and Statutory
damages plus attomeys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

WHEREFORE, Leonard Martinez prays that the Court grant the relief sought in this

Complaint as set forth above and:

A. Compensatory damages to be decided by the Court.

B. Punitive damages in an amount to be decided by the Court.

C. Attorney’s fees and costs

D. Any other relief this court deems just and proper.
Respectfully Submitted,
ERIC ORTIZ & ASSOCIATES,
/§[.Er_ic__l\/_. vQr,t_iz. ifé-sisnec£t
Eric N. Ortiz, Esq.
510 Slate Street NW
Albuquerque, NM 87102

Telephone: (505) 720-0070
Fax: (505) 242-3906

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 9 of 35

Attorneyfor Martz'nez

re

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 10 of 35

 

 

 

 

uVHN .iF
NOTE
SEFTEIH.EER 17, 2003 A.LBUQUERQU'E, HEH HBX!CO
[City] [State]

[Datel

34 VALLECITOS, TIJERAS, NH 87059
[Property Addraes]

1. BGRROWER’S PROMtSETO PAY
_' in retum for a loan that | have received, l promise to pay U.S. $280, 000 . 00 (this amount is called “Principai“),
plus interest to the order of the Lendei. The Lender is hair Aiiizo ricaran cnouP, nic. , n oei.niriuze

CORPORATIOH.

lwiil make all payments under this Note in the form of cash, check or money order.
luiq_c|erstand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who

is emitted to receive payments under this Note is called the 'Note Holdcr.”

2. iNTEREST _
interest will be charged on unpaid principal until the full amount of Principal has been paid. lwill pay interest at a

yearly rate of 6.000$. 1 .
The interest rate required by this Section 2 ls the rate l will pay both before and after any default described in Secuon

tS(B) of this Nole.

3. PAYMENTS

(A) Tlmo and P|ace of Payments

lwiil pay principal and interest by making a payment every month.

lwiil make my monthly payment on the is~;r day of each month beginning on novaiteeii 1 , zooJ.
|wi|l make these payments every month until lhavn paid allofthe principal and lnterestand any ol.hercharges described
below that l may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be
applied lo interest before Prlncipal, lt. on oc'roaen 1 , 2033, | still owe amounts under this Nofe, lwiil
pay those amounts in fulton trial date, which ls called the “Malurity Data."

lwiil make my monthly payments at ‘

4242 H. HARLD! AVE.

Non.nrose, IL 60706

sum eastmanan
or al a different place ii required by the Note Holder.

(B) Amount of Monthly Payments

My monthly payment will be in the amount of U.S. $1, 57 B .'l 4 .

4. BORROWER'S RIGHT TO PHEPAY

| have the rightto make payments of Princlpal at any time before they are due. A payment of Prlncipal only is known
as a "Frepayment. "When | make a Prepayment, lwiil tell the Note Holdarln writing ihatl am doing so. | may noldeslgnale
a payment as a Prepaymenl if l have not made all the monthly payments due under the Note.

l.may make a full Prepayment or partial Prepayment:. without paying a Prepayment charge. The Note Ho|der will
use my Prepayments to reduce the amountol Princlpal that l owe under this Note. However. the Note Ho|der may apply
my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my Prepaymeni to
reduce the Principal amount cf the Note. |f| make a partial Prepayment, there will be no changes in the due date or in
the amount of my monthly payment unless the Note Ho|der agrees in writing to those changes

5. LOAN CHARGES

lf'a law. which applies-to this loan and which sets maximum loan charges, is iinal|y interpreted so that the interest
or other loan charges collected or to bc collected in connection with this loan exceed the permitted limits. then: (a) any
such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limil; and (b) any
sums already collected from me which exceeded permitted limits will be refunded to me. The Note Ho|der may choose
to make this refund by reducing the Princlpal l owe under this Note or by making a direct payment to mc. ll a refund
reduces Pn`ncipai, the reduction will be treated as a partial Pre`payment

6. BOHROWER'S FAILURE TO PAY AS REQU|RED

(A) Lato Charge for Ovordue Poymonte

ii the Note Ho|der has nol received the full amount of any monthly payment by the end of 15 calendar
days after the dale il is duel l will pay a late charge to the Note Holder. The amount of the charge will be 5. 000%
of my overdue payment of principal and lnrerest. l will pay this late charge promptly butoniy once on each late paymenL

(B] Defuult

lf l do not pay the full amount of each monthly payment on fha date il is due. lwiil be in default

(C) Notice of Defeult

|fl amin delault, the Note Ho|der may send me a written notice telling me that iii do not pay the overdue amount
by a certain date, the Note Holdar may require me to pay immediately the full amount of Principal which has not been
paid and all the interest that l owe on that amount Thatdate must be al least 30 days aiterthe dale on which the notice
is mailed to mo or delivered by other means.

(D) No Walver By Note Ho|der

Even if, at a lime when lam in default. the Note Holder does not require me to pay immediately in full as described
above. the Note Ho|der will still have the right to do so if | am in default at a later time. .'A&¢

'- "<" ‘ . '

In.i.tialsi 4 _
MuLnsTATE FrXEo RATE NoTE-slngio Fam\ty-annro Msn/Fnddl= mc uNlFoRM lernuMENr Fcrm ozou 1/01 ,(
o 1999-2002 Onlino Documonis, lnc, page 1 of 2 '
40°HFSDU

 

- - - -.---.-s\\~~-."-.~.~.-.\-.~,.-.-.-........-. ... .. ._._.. .;..

Case 1:17-cv-01195-KBl\/|-LF Document 1-1 Filed 12/05/17 Page 11 of 35

 

lE) F'ayment of Note Ho|der’s Costs and Exponsos

':` ll the Note Holder has required me to peyimmedlately in full as described above, the Note Holderwll| have the right
to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable
|aw. Those expenses inciude, for examp|e, reasonable attorneys‘ fees.

7. GlVlNG OF NOTICES
Uniess applicable law requires a differentmethod, any notice that must be given to me under this Note will be given
by delivering it or by mailing lt by hrst class mall lo me at the Property Address above or at a different address ill give
the Note Holder a notice of my different address.
v Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing lt bylirst
class mail to me Note Holder al the address stated in Section S(A) above or at a different address if l am given a notice

of that different address.

B. OBLJGAT|ONS OF PERSONS UNDER THIS NOTE

|f more than one person signs this Note, each person is fully and personally obligated to keep all of thc promises
made in this Note, including the promise to pay thafu|l amount owed. Any person who is aguarantor, surety or endorser
of this Note is also obligated to do these thlngs. Any person who takes over these obligations, including the obligations
of a guarantorl surety or endorser of this Notel is also obligated to keep all of the promises made in this Note, The Note
Holder may enforce its rights under this Note against each person individually or against all of us together. This means
that any one of us may be required to pay eli of the amounts owed under this Note,

9. WAtVERS
land any other person who has obligations under this Note waive the rights ofPresentmentand Notice ol Dishonor.

§ “Presentment" means the right to require the Note Holder to demand payment of amounts due. “Notlce of Dlshonor"
means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

 

10. UN|FORM SECURED NOTE
lhls Note is a uniform lnstrum entwith limited variations ln some jurisdictions in addition to the protections given

lo the Note Holder under this Note, a Mortgage, Deed of TrustI or Security Deed (the "Securfty lnstrumenl"). dated the
same dale as this Note, protects the Note Holder from possible losses which might result ill do not keep the'prornises
which | make in uris Note, ThatSecurity lnstrumentdascrlbes how and underwhatconditions l may be required to make
immediate payment in full of all amounts l owe under this Note Some of those conditions are described as follows:
|f all or any part of the Property or any interest in the Property is sold or transferred (or if Eorrower is not a
natural person and a ben eiiclal lnterestin Borrower is sold or transferred) without Lender's priorwritten consent,
Lender may require immediate payment in full of all sums secured by this Secun'ty instrument However, this
option shall not be exercised by Lender if'such exercise is prohibited by App|icable Law.
ll Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall provide
a period of not less than 30 days from the date the notice is given in accordance with Seollon 15 within which
Borrowermustpayali sums secured by this Securitylnstrumenl. iiBorrower falls to pay these sums prior to the
expiration ofthls period, Lender maylnvol<e anyremedies permitted by this Security lnstrumentwlthoutlurther
notice or demand on Borrower.

 

\_fVi`lNESS THE HAND{S) AND SEAL(S) OF THE UNDERS|GNED

  

 

[Slgn Orlglnal Only]

MULT\STATE FIXED RATE NOYE-Single Famlly-Flnnle Meo/Froddil Meo UN|FORM lNSTHUMEN'T Form 32001/01
o 1999.2002 ontth oa=um~ms. ina Pogo 2 of 2 F:izooNoT

-.i
l
_i

 

Case 1:17-cv-01195-KBl\/|-LF Document 1-1 Filed 12/05/17 Page 12 of 35

CitT

December 14, 2015

Leonard Martinez
PO Box 37062
A|buquerque NM 87176-7062

RE: Property Address: 34 Va||ecitos
Tijeras, NM 87059
CitiMortgage Loan t$: - ,

   

Dear CitiMortgage Customer(s).

Based on a careful review of your mortgage account, we are offering you an opportunity to enter into a Tria| Period P|an for
a mortgage modification. This is the first step toward qualifying for more affordable mortgage payments or more
manageable terms. lt is important that you read this information in its entirety so that you completely understand the actions you
need to take to successfully complete the Triai Period Plan to permanently modify your mortgagel

This offer is'§not based on any evaluation of information submitted in connection with a mortgage assistance application
Proposed Modiflcatlon Terms

lf you successfully complete the Trlal Period P|an by making the required payments. you will receive a modification with a fixed
term of 40 years from the date the modification is effective

To Stop the Forec|osure Process (Suspension of Foreclosure)

ln order for.us to delay referring your mortgage to foreclosure, or suspend foreclosure proceedings if your loan has been referred
to foreclosure:

You must contact us at the phone number below or in writing at the address provided below no later than 12/29/2015 to
indicate your intent to accept this offer.

You may also make your lirst({frial Period Planz)ayment by 12/29/20\5. which is earlier than the scheduled due date described
below and we will stop the foreclosure proces .

Ho_wever, if you do not respond by 12/29/2015. we will continue with the foreclosure process, and a foreclosure sale may occur.
Thls offer will be revoked lf you fail to respond by 12/29/2015 and a foreclosure sale occurs. even if the sale occurs prior to the
first Tria| Period P|an payment due date set forth below.

To Accept This Offer

lf you have notified us of your intent to accept the offer by 12/29/2015. which is 14 calendar days from the date of this |etter. you
must send your first P|an payment on or before 1/1/16 or, if you have not notified us of your intent to accept the offer and

a foreclosure sale has not occurred, you must send your first P|an payment on or before 1/1/16. Butl if you fail to notify us

of your intent to accept the offer prior to the foreclosure sale. this offer will be revoked and foreclosure proceedings may continue
and a foreclosure sale may occur. ln addition, if you fail to make the first P|an payment by 1/1/16 and we do not receive

the payment by the last day of the month in which it is due, this offer will be revoked and foreclosure proceedings may continue and
a foreclosure sale may occur.

  

LM-iisa 14362_\ '
555680 FHLMc_sMP_rPP_l 1071

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 13 of 35

Trial Feriod Plan Payments

To successfully complete the Trial Period P|an, you must make the Trlal Period Plan payments below.
- . ..' c

First Payment: 82,023.96 by 1/1/16 "
Second Payment: 32.023.96 by 2/l/l6
Third Payrnent: 52.023.96 by 3/1/16

Please send your Trial Period P|an payments to:

CitiMortgagel lnc.
PO Box 688‘_350
Des Moines. `lA 50368-9l96

lf you have questions about your Trial Perlod P|an or permanent modification requirements please contact us at the phone
number below.

Next Steps

n lt is important that you thoroughly review the Frequently Asked Ouesfl`ons and Additional Trial Period Plan lnformation and
Lean Notices information attached.

l We reserve the right to revoke this offer or terminate the plan following your acceptance if we learn of information that
would make you lne|lgible for the Trlal Perlod P|an.

l Once you have successfully made each of the payments above by their due dates. you have submitted the required signed copies
of your modification agreement. and you otherwise remain eligible for the modification and we have signed the modification
agreement your mortgage will be permanently modified in accordance with the terms of your modification agreement.

v We must receive each payment in the month in which it is due. lf you miss a payment or do not fulfill any other terms of
your Trlal Perlod Plan, this offer will end and your mortgage loan will not be modified.

ll lf you have not been evaluated for eligibility for a modification under the federal Home Affordable Modlfication Program \--/
(HAMP) and you return a complete Borrower Response Package that we previously sent to you no later than 12/29/2015.
we may be able to offer you a HAMP modification with a lower monthly principal and interest payment than what we estimate
you wouldirecelve for the proposed modification described above.

l please note that except for your monthly mortgage payment amount during the Trial Period P|an, the terms of your existing
note and all mortgage requirements remain in effect and unchanged during the Trial period P|an.

ll you would like more information about hardship assistance alternatives or if you are concerned with how we have handled your
account, please call us at i-866-272-4749 Monday - Friday 7:OO a.m. ~ 9:00 p.m. CT and Saturday 7:00 a.m. 4:00 p.m. CT. You may
also contact us via mail at: CitiMortgage, lnc., lOOO Technology Drlvel Mail Statlon 514, O'Fa|lon. MO 6»3368.

 

. ©2015 CltiMortgage. lnc. ClliMortgage, lnc. is an equal housing lender. Cltil

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 14 of 35

Addltlonal Trlal Perlod P|an information and Legal Notices

We will not proceed to foreclosure sale during the Trial Period Plan, provided you are complying with the terms of
the Trial Feriod P|an:

Any pending foreclosure action or proceeding that has been suspended may be resumed if you fail to comply with the
terms of the plan or do not qualify for a permanent modification

You agree that we will hold the Trial Period Pian payments in an account until sufficient funds are in the account to pay
your oldest delinquent monthly payment. You also agree that we will not pay you interest on the amounts held in the
account. if any money is left in this account at the end of the Trial Period P|an and you qualify for a loan modification
those funds will be deducted from amounts that would otherwise be added to your modified principal balance.

Our acceptance and posting of your payment during the Trial Period P|an will not be deemed a waiver of the acceleration
of your loan and related activities. including the right to resume or continue foreclosure and shall not constitute a cure of
your mortgage default unless such payments are sufficient to completely cure the defau|t.

if your monthly payment did not include escrows for taxes and insurance, you are now required to do so:

‘fou agree that any prior waiver that allowed you to pay directly for taxes and insurance ls revoked. You agree that we will
establish an escrow account and that you will pay required escrows into that account.

Your current loan documents remain in effect; however, you may make the Trlal Period P|an payment instead ol‘ the
payment required under your loan documents:

You agree that all terms and provisions of your current mortgage note and mortgage security instrument remain in full
force and effect and you will comply with those terms; and that nothing in the Trlal Period P|an shall be understood or
construed to be a satisfaction or release in whole or in part of the obligations contained in the loan documentsl

The Trial Period P|an notice will be rescinded if an error ls detected.
You agree that if an error in the terms of the Trial Period P|an or your eligibility is detected alter issuance of the Trial
Period P|an notice, the Trial Period Plan will be void and of no legal effect upon notice to you of such error. You understand

that a corrected Trial Period Plan will be provided to you if it is determined that you remain eligible for a loan modification
after correction of the error.

Arc Desiqn. Cili and Arc Design are registered service marks of Citigroup lnc.

Page 3 of 3

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 15 of 35

answers y_ou need to some of the most common questions

   

` '§st?'ijENt_e_/;es’k€e eil`€s:rio~

Q. What else should l know about this offer?
lf you make your new trial period payments timely we will not conduct a foreclosure sale.
Vou will not be charged any fees for this Trial Period Plan or a permanent modification
if your loan is modified, we will waive all unpaid late charges.

Credit Reportlng: We will continue to report the delinquency status of your loan to credit reporting agencies as well as
your entry into a Trial Period Plan in accordance with the requirements of the Fair Credit Reporfing Act and the Consumer
Data industry Association requirements CRED|T SCOR|NG COMPANIES GENERALLY CONS|DER THE ENTRV |NTO A
PLAN WlTH REDUCED PAYMENTS AS AN lNCREASED CRED|T RiSK. AS A RESULT. ENTERlNG lNTO A TR|AL PER|OD
PLAN MAY ADVER$ELY AFFECT YOUR CRED|T SCORE, PARTlCULARLY iF ¥OU HAVE A GOOD CRED|T SCORE.
For more information about your credit score, go to http://www.ftc.gov/bcp/edu/pubs/consumer’credit/creZ'd.shtm.

Q. Why is there a Trlal Perlod Plan?

The Trial Period P|an offers you immediate payment relief and gives you time to make sure you can manage the estimated
new monthly mortgage payment The Trial Period Plan is temporary, and your existing loan and loan requirements remain
in effect and unchanged during the Trial Period P|an.

O. When will l know if my loan can be modified permanently and how will the modified loan balance be determined?

Once you make all of your Trial Period P|an payments on time and return to us the required copies of a modification
agreement with your slgnature. we will sign one copy and send it back to you so that you will have a fully executed
modification agreement detailing the terms of the modified loan. Any difference between the amount of the Trial Period
P|an payments and your regular mortgage payments will be added to the balance of your loan along with any other past
due amounts as permitted by your loan documents Whiie this will increase the total amount that you owe. it should not
significantly change the amount of your modified mortgage payment.

G. Are there incentives that | may qualify for if l am current with my new payments?

Borrower incentive compensation is only available to borrowers who qualified for a permanent modification under HAMP.
if you return a complete Borrower Response Package no later than 12/29/2015. and we determine that you are eligible
for a HAMP modification with a lower monthly principal and interest payment than we estimate you would receive for the
proposed modification described above, then we will offer you the l-lAMl'-‘ modification agreement and you will be eligible
for the borrower incentive compensation under HAMP.

O. Will my interest rate and principal and interest payment be fixed after my loan is permanently modified?

if your loan is permanently modified as described above under the Proposed Modification Terrr~s. your interest rate and
monthly principal and interest payment will be fixed for the life of your mortgage. i-lowever, if you relurn‘a complete
Borrower Response Package that we previously sent to you no later than 12/29/2015. and we are able to offer you

a l-lAMP modification your interest rate will change after the first live years. as described in the HAMF modification
agreement. Regardless of the modification program. your new monthly payment will include an escrow for property taxes.
hazard insurance and other escrowed expenses. if the cost of your homeowners insurance, property tax assessment or
other escrowed expenses increases. your monthly payment will increase as well.

680 FHLMC SMP_TPP_B l07l
LM-l15514362_3 555 -

 

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 16 of 35

NOT|CES

TTY Services available: Dial 711 from the United States; Dial i-Beo~ZSO-ZOSO from Puerto Rico.
CALLS ARE RANDOMLY MON|TORED AND RECORDED TO ENSURE OUAl_lTV SERV|CE.
Hours of operation provided reflect general hours for CitiMortgage

if responding through e~mail, please do not include confidential information E-mail communication is randomly monitored
to ensure quality service.

The purpose of this communication is an attempt to collect a debt and any information obtained will be used for that purpose.
TO THE EXTENT VOUR OBLlGATlON HAS BEEN DlSCHARGED OFt lS SUBJECT TO AN AUTOMATIC STAY OF A

BANKRUPTC`( ORDER UNDE'.R TlTLE 11 OF THE UNlTED STATES CODE, TH|S NOT|CE lS FOR COMPL|ANCE AND
|NFORMAT|ONAL PURPOSES ONLY AND DOES NOT CONST|TUTE A DEMAND F'OR PAYMENT OR AN ATTEMPT TO
COLLECT ANY SUCH OBL|GATION. .-

Whenever SoO0.00 or more of a debt is forgiven as a result of settling a debt for less than the balance owing, we may be
required to report the amount of the debt forgiven to the internal Revenue Service on a lO99-C form. a copy of which will be
mailed to you. if you have any guestions, please consult your tax advisor.

information for Massachusetts Residents;

NOT|CE OF |MPORTANT RIGHTS

YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUE$T THAT TELEPHONE CALLS REGARD|NG YOUR
DEBT NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WlLL BE VALlD FOR
ONLY TEN DAYS UNLESS VOU FROV|DE WR|TTEN CONF|RMAT|ON OF THE REQUEST FOSTMARKED OR DELIVERED
WlTHlN SEVEN DAYS OF SUCH REQUEST. YOU MAY TERM\NATE TH|S REQUEST BY WRIT|NG TO THE CRED|TOR.

' ©2015 CiliMortqage. lnc. CiliMortgage. lnc. is an equal housing iender_ Citi, Arc Deslgn. Cih and Arc Desiqn are registered service marks of Citigroup lnc.

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 17 of 35

For help exploring your options at no charge. the Federal government provides contact information for Hl.lD approved housing
counselors, which you can access by contacting the Consumer Financial Protection Bureau at htip://www.consumerfinance.
gov/mortgagehelp/, the Department of Housing and Urban Development at http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm
or by calling the HUD Housing Counselor List Telephone Number at 1-888-995-4673.

in accordance with federal law, CitiMortgage has designated the following address where you can send a written request for
information a written notice of error, or a qualified written request:

CitiMortgage, lnc.

Attn: Customer Research Team
PO Box 10002

Hagerstown MD 21747-0002

information for Massachusetts Resldents on|y:

A statement of the interest of the creditor: Program requirements satisfied and approval is in the hest interest of the creditor.
The Net Present Value analysis was not performed as it was not required for approval under the <Fannie Mae/Freddie Mac>
Loan Modification program.

Siricerelyl

CitiMortgage, lnc.

LM-ll§8.14362__2 5556!§0 FHLMC_SMP_TPP_Z 1071

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 18 of 35

 

882 88 888 6888_5 8885 B.o~m.mdm 8855 8 8 Eae>~d eeo modes 885 8:8:88
ea2 88 888 8.,-85 888.5 8.88.88 883 5 8 8 eased >_eo sees 88:85 955
mv882 888 88 858.85 8.88_5 58888 883 5 8 8 EdE>ad 80 aaaa_ 885 v 2858
882 88 88 8.5_5 885 5 58888 888 5 8 8 ._ae>ad >_eo modes 88:85 358
882 888 888 688$85 285.§8.5 588.88 635 5 8 8 Eae>md 880 modes 88:85 v 522
882 888 888 8.8_5 285.§8.5 88.8~8_88 535 5 8 8 amend 280 aeee_ 88:85 m 558
ea2 88 88 888.~5 888~_5 ~8.888.88 8.88».5 8 8 _ea§md 280 dooa_e_ 885 828:88
252 88 88 855 8.88_5 B.8~8.88 8.888.5 8 8 __ae>~d 280 modes 885 85::
882 888 888 855 88.8~8.88 848~8.~ 8 8 Eoe>ad B__dd§: 885 285
852 88 888 855 88.8~8_88 88.8~8_~ 8 8 amend ae_ddae: 88:85 8:8~:8
882 888 88 855 mo § 855 85888 888 888 8 8 amend asmar 858:8 8 588
o82 88 888 88.8§ mo 5a 585 ~8.~58.88 988 88.8~8_~ 8 8 ceded aimed 8 588 8 588
952 88 88 885 § d 55 888 588 83 5 _8_ 5 8 8 eme>ad >_eo aeomw 8 588 8 :8:8
882 888 888 888_ 5 88588 88.88_~ 8 8 Eee>md ae_dda=: 858\~8 85 58
882 888 88 888_ 5 883 5 ~8.~5_88 8.888. 5 8 8 ceded >_=0 aw§e_ 8588 o :8~>8
882 888 888 888 8.~8.88 888 8 8 Eoc;md 885 25 8 528 8:8:8
882 888 888 85.88_8~ 5888~8~ 88~8~ E.~E.E~ 8 8 8< nees §§ eae>ad 8588 8:85.8
382 88 888 588~88 885 8 8 $w< decades deeded 8588 8 558
882 888 88 5.8~.§~ 88 5 8 8 dow< da=oadmd_ added 8 588 8 :-8
882 88 888 58.88~.¢8~ 885 8 8 amd< eeoadwe_ added 8 588 988
882 88 88 _88~8~ 885 8 8 awm< ea=oodme_ deeded 8 588 8 588
882 888 888 58~8~ 88 5 8 8 omm< eo=oodmd_ c€aded 8 588 w :NQE
882 888 88 58~.8~ 88 5 8 8 amw< da=oodae_ deeded 8 588 w §de
882 888 888 58~_¢8 88 5 8 8 awm< ea=awdde_ aaded 8588 988
eaz 88 88 5.888.8~ 855 8 8 332 eeo od 8588 8 588
ne82 888 88 58.88~.8~ 885 8 8 madion deed 858__8 85~;8
882 888 88 .8.8~_¥...~ 885 8 8 mma$< 880 85 8588 588
852 888 888 588~.$~ 835 8 8 added eeo od 8588 8:~58
282 888 888 _88~.8~ 885 8 8 m$mm< 838 mdaaood 8: 88 8 558
882 88 888 58~.88 885 8 8 mmowm< 280 od 858`88 8 588
882 88 888 5888~ 885 8 8 aao< dd.oadme_ added 8 588 8 588
852 888 88 _888~.¢8~ 885 8 8 owed da_awdmd_ added 8588 8 558
m82 88 l 88 ...... l _ 5888~ 885 8 883 eeoodme_ >eoded 850_8 82-58
od>._. vo:m_mm wo:~_mm E:oE< uocd_mm ~::oc._.¢ . . E=oE< oo:m_mm E:oE< EooE< mw_d avco umoo. owns 280 =.m
>o:os_ ._admc: omdm.~o 35 >>o._oww ~mod$c_ _ma_u:cd m:md.r >om m:mdd. 25 down oench

   

No£tm§ UdocooJ
§.d§§®n 383

S_d©v v _.Nnm §.cw\o fmc
dad¢w_.c:mo._

seed EmEE:w 53de ceoi_
mc_£>._om ommmto_>_ ucmoa__ocm

 

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 19 of 35

.w°°”“\...
CitiMortgage Cl ute
O`l / 22/ 16 www,citimortgaqe.com

ill|lllitumixlllllclllll|pdm||llll|llll|nl|lllnizllhil|
` " 4'671'98805'0001266"001'1'OOO*OOO'OOO'OOO DOBLTD368

1 LEONARD MARTINEZ
PO BOX 37062
ALBUOUEROUE NM 87176”7062

RE: Property Address: 34 Vaiiecitos
lTijeras NM 87059
CitiMortgage Loan #:4

  

MORTGAGE MODIFICATION PROGRAM
PAYMENT REMINDER NOTICE

Dear CitiMortgage Clients(s):

Thank you For your interest in Freddie Mac Streamllne Modification.
This is a reminder that your monthiy triai payment is due on O2/Ol/16
and is required so you can continue in the program. Please mail your
payment immediately.

IF you have already mailed your payment piease disregard this letter.
For assistance with making immediate payments or to confirm we
received your maiied payment. please contact us at 1-855-843-2549.

For heip exploring your options at no charge. the Federal government
provides contact information For HUD approved housing counselors.
which you can access by contacting the Consumer Financial Protection
Bureau at nttp://www.consumerfinance.gov/mortgagehelp/, the Department
of Housing and urban Deveiopment at
htto://www.hud,gov/oFFices/hsg/th/hcc/hcs.cFm or by catling the HUD
Housing Counselor List Telephone Number at 1~888-995-4673.

IF you have any questions regarding this letter or it you are
concerned with how we have handled your account, piease contact

at 1-855-843-2549 ext. 0475408. Monday w Thursday 7:00 a.m. w 8:00
p.m. CT. Friday 7:00 a.m. ~ 6:00 p.m. CT and Saturday 7:00 a.m. - 4:00
p.m. CT or via e-mail at Heather.diil.$mith@€iti.Com. You may also
contact me via maii at: CitiMortgage, Inc., Homeowner Support Team.
iOOO Technoiogy Drive, MS 420. O'Faiion. MO 63368.

m ©20l4 CitiMortgage, lnc. CitiMortgage, lnc,is an equal housing lender. 'Ca||s are randomly monitored and recorded lor quality assurancel CiliMort
obtained will be used lor lhat purpose

 

:IVI» LO='OQOS"`L 19

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 20 of 35

4'671'98805-0001266*001-2'OOO'OOO~OOO-OOO DOSLTDSGB

CitiMortgage CE ig

www.citimortqaqe.com

 

§ Page Two ,

 

In accordance with Federai iaw, CitiMortgage has designated the
Foiiowing address where you can send a written request for
information. a written notice of error. or a qualified wrttten
request:

CitiMortgage, Inc.

Attn: Customer Research Team
F.O. Box 10002

Hagerstown, MD 21747-0002

Stncereiy,
CittMortQaQe. Inc.
NOTICES:

TTY Services availabie: Dial 711 from the United States: Dial
1-866-280-2050 From Puerto Rico.

CALLS ARE RANDOMLV MONITORED AND RECORDED TO ENSURE QUALITY SERVICE.
Hours of operation prov1ded reflect general hours for CitiMortgage.

If responding through e-maii, piease do not include confidential
information. E-Ma11 communication is randomiy monitored to ensure
duaiity service.

IF an attorney represents you. please refer this letter to your
attorney and provide us with the attorney’s name. address and
telephone number.

The purpose cf this communtcation is an attempt to collect a debt and
any information obtatned will be used For that purpose.

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS SUBJECT TO AN
AUTOMATIC STAV OF A BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED
STATES CODE, THIS NUTICE IS FOR COMPLIANCE AND INFORMATIDNAL PURPOSES
ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO
COLLECT ANY SUCH OBLIGATION.

160122DOOO2072

@- @2014 CitiMortgage, lnc. CitiMortgage, lnc. is an equal housing lender. 'Ca|is are randomly monilored and recorded for quality assurancel CitiMortgage is a debt collector and any information
obtained will be used for that purpose

di’HO-'OSO€'~!LQ

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Eage 21 of 35

it t

www.cl!imortqage.€om

   

 

CitiMortgage

+ estates undoubva o=icrm. o'ia:~isl.i noarrvai,a
LEONARDIMARNNEZ

PO BOX 37062

ALBUQUERQUE NM 87176-7062

‘Iu'l"'ii"'ilm"'"'l'wi'|lliiii'ill'!lu""m|'|i't'|'l

02/22/16

RE: Property Address: 34 Vallecitos
_Ti'eras, NM 87059

 

CitiMortgage Loan #:

MORTGAGE MODIFICATION PROGRAM
PAYMENT REMINDER NOTICE

Dear CitiMortgage Clients(s):

Thank you for your interest in Freddie Mac Streamline Modification.
This is a reminder that your monthly trial payment is due on O3/0l/16
and is required so you can continue in the program. Please mail your
payment immediately.

If you have already mailed your payment please disregard this letter,
For assistance with making immediate payments or to confirm we
received your mailed payment, please contact us at 1-855-843-2549.

For help exploring your options at no charge, the Federal government
provides contact information for HUD approved housing counselors,
which you can access by contacting the Consumer Financial Protection
Bureau at http://www.consumerfinance.gov/mortgagehelp/, the Department
of Housing and Urban Development at
http://www.hud.gov/offices/hsq/sfh/hcc/hcs.cfm or by calling the HUD
Housing Counselor List Telephcne Number at 1-888-995-4673.

 

----------------- =mww~@»4€- yeedunmr+¢yeyr¥%exms~m» wdnm;t%»s~&erter-er if ymiin@ -»- = wm~~~
concerned wit.h how we have handled your account, please contact

at 1-855- 841-2549 ext. 0415408, Monday - Thursday 7: 00 a. m. - 8:00
p.m. CT, Friday 7:00 a.m. - 6:00 p.m. CT and Saturday 7:00 a.m. - 4:00
p,m. CT or via e~mail at Heather.Jill.Smith@Citi.Com. You may also
contact me via mail at: CitiMortgage, Inc., Homeowner Support Team,
1000 Technology Drive, MS 420, O'Fallon, MO 63368.

  

 

ain-iran

" '3 ©2014 CitiMortgage, lnc. CitiMortgage, inc rs an equal housing lender Calls are randomly monitored and recorded lor quality assurancel

   

 

 

 

,..%“
c.
w
w
W

 
 
 

NT OR AN ATTEMPT TO

a
o
.

I~_`.

¢.
v

i

 

:`\
;./

ORDE

 

D REC

 

AN

`P-.i=,l_':r;i .
'J

 

co
N.

..éi[[‘.
r

._'r‘\h

¢`§
rs

'.I` 0

P.

    

CO i’Y"Hi .

.».

.)

.--.E

-`.{ MONI

:¢.»

.|M
3
li
0

sr

8

v

17-CV-01195-KB|\/|-LF Document 1-1 Filed12/05/17 Page 22 0f35
T.`

.\»

313
torney

~

j

L(

-¢
fl&

c.¢‘.,

Case 1

‘a

Ci iMr)i

c_'

l

`i

 

V..
nn
Di.
R
0
F
D
N
A
M
nn
nd
an
E
.,.T
..U
mx_
..T.
T
S
N
0
.C
.T
0
N
iS
E
0
D
D
N
.A
.Y
L
.N
0

  

 

If an at

 

/
¢,

 

n

i=‘~ \’friik‘.nrtqac;‘~‘.

"T

   

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 23 of 35

 

 

CitiMortgage

www.citimortoaqe.com

+ otenou? ooooov?an osclni osaasii noiLTooua
LEONARD MART|NEZ

PO BOX 37062

ALBUQUERQUE NNi 87‘|76-7062

13lllll|!illll|l"||llllnlul|nlr}n""|nluliilr|"llml"l|

04/11/16

RE: Property Address: 34 Vallecitos
Tijeras, NM 87059
CitiMortgage Loan #:**"

   

Dear CitiMortgage Client(s):
The Repayment/Forbearance plan for your account has been removed.

You still have options to avoid foreclosure. Please contact us
immediately as we would like to discuss hardship assistance options
that may help make your mortgage payments more affordable and avoid
foreclosure. You have the option of completing a loss mitigation
application to receive a full evaluation of all loss mitigation
options available to you.

For help exploring your options at no charge, the Federal government
provides contact information for HUD approved housing counselors,
which you can access by contacting the Consumer Financial Protection
Bureau at http://www.consumerfinance.gov/mortgagehelp/, the Department
of Housing and Urban Development at
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm or by calling the HUD
Housing Counselor List Telephone Number at 1-888-995~4673.

 

If you would like more information about hardship assistance programs
or if you are concerned with how we have handled your account, please
call us at 1-866-272-4749 Monday s Friday 7:00 a.m. - 9:00 p.m. CT,
and Saturday 7:00 a.m, - 4:00 p.m. CT or e-mall us at:
eru_support@citi.com. You may also contact us via mail at:
CitiMortgage, Inc., 1000 Technology Drive, Mail Station 514, O'Fallon,
MO 63368.

If you do not contact us, we consider all options available to us

under the law to collect on the account. When you call or write to us,
refer to your loan number 0640952997.

t`-20l4 CitiMortgage, lnc. CitiMortgage, lnc. is an equal housing iender. Calis are randomly monitored and recorded for quality assurance
':‘-.u

 

Case 1:17-cv-01195-KBl\/|-LF Document 1-1 Filed 12/05/17 Page 24 of 35

 

CitiMortgage
Page Two
04/11/16 wwwohmmmawtom

0640952997 w

In accordance with federal law, CitiMortgage has designated the
following address where you can send a written request for
information, a written notice of orror, or a qualified written
request:

CitiMortgage, lnc.

Attn: Customer Research Team
P.O. Box 10002

Hagerstown, MD 21747-0002

Sincerely,

CitiMortgage, lnc.
NOTICES

TTY Services available: Dial 711 from the United States; Dial
l-866-280~2050 from Puerto Rico.

CALLS ARE RANDOMLY MONITORED AND RECORDED TO ENSURE QUALITY SERVICE.

Hours of operation provided reflect general hours for the Collec;ions
Department.

If responding through e-mail, please do not include confidential
information. E-Mail communication is racdomi' monitored to ensure t ,
quality service.

If an attorney represents you, please refer this letter to your
attorney and provide us with the attorney's name, address and
telephone number.

The purpose of this communication

i attempt to collect a deb: and
any information obtained will be used r t

hat purpose.

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS SUBJECT TO AN
AUTOMATIC STAY OF A BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITEJ
STATES CODE, THIS NOTICE IS FOR COMPLIANCE AND INFORMATIONAL PUR?OSES
ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO
COLLECT ANY SUCH OBLIGATION.

The Federal Equai Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, cnlor,
religion, national origin, sex, marital status, age (provided the
applicant has the capacity to enter into a binding contract); because
all or part of the applicant's income derives from any public
assistance program; or because the applicant has in good faith
exercised any right under the Consumer Credit Protection Act. The
federal agency that administers compliance with this law concerning
this Creditor is the Bureau of Consumer Financial Protection, 1730 G
Street NW., Washington DC 20006; Federal Trade Commission, Equal
Credit Opportunity, Washington, DC 20580.

16041180002593 saw

l ' ©2014 CitiMortgage, lnc. CitiMortgage, lnc. is an equal housing lender. ralls are randomly monitored and recorded for quality assurancel

 

Case 1:17-cv-01195-KBl\/|-LF Document 1-1 Filed12/05/17 PEifiofSB

CitiMortgage
P.O. BOX 6243
SiOLlX FaliS. SD 57117-5243 www.cl!imortqage.r.om

Apn'r 29. 2016

LEONARD MARTlNEZ
PO BOX 37062
ALBUQUERQUE, NM 87176-7062

ulllll|rlli""|\||l"lll'l|"l||"|ll|l|llll|"ill"ll||\|l|"l

Cun'ent CitiMortgage Account Numben
New Ditech Financial Accounl Number: .

 

Dear CitiMortgage Ciienl(s):

CitiMortgage, lnc. wants to take this opportunity to say “thank you`, Efieclive May 16, 2016. tha servicing ofycur mortgage loan
will be transferred from CitiMortgage to Ditech Financial LLC. This lransler does not affect the terms or conditions cl your loan
documents other than me terms directly related to who is servicing your loan. The transfer oi loan servian is a common
practice in today‘s mortgage industry. and is no reflection on you personally

Below ls a summary ofinfonnation and tools that will assist you in making this transition as smooth as possible Also, the
Servicing Transfer Notice required by federal law appears on page 2 cl this letter.

 
  

o Mgn =f*a~=l~.r:e.gt_s; Effective May 16, 2016. all payments should be sent to Ditech Flnancia|. Any payments we

receive after this dale will be forwarded to yournew servicer. The payment address for Ditech Financial is:

Ditech Financial LLC
P.O. Box 7169
Fasadena, CA 91109-7169

a '{_L§u__to_r_r_r_a_ti_c_,_i)__r_a_f_tir£,,r:: ll youraccount ls enrolled in EZ Pay, this service will continue. ll your payment is automatically
drafted through another method or by a third party or bill pay service, please notify them that effective May 16, 2016.
payments should be sent to Ditech Financial attire address above and should reference yournew Ditech Financial
account number . .

a Y;L'z§é;.tq`l_ig_a§gl§: Prior to May 16, 2016, please call CitiMortgage at 1-800-283-7918' Monday through Friday, from
8:00 a.m. to 10;00 p.m.l and Saturday from 8:00 a.m. to 6:00 p.m., ET, ll you have questionsl To access `lTY servicesl
dial 711 from the United States or dial 1-865-280~2050 from Puerto Rico. Ycu may also write lo us al CitiMortgage,
lnc., P.O. Box 6243. Sloux Fal|s. SD 57117-6243. Effective on May16,2016, please call Ditech Financial al
1-855~297-6259, Monday through Friday from 7:00 a.m. to 8:00 p.m., CT, and Saturday from 7:00 a.m. lo 1:00 p.m.,
CT, You may also write lo them at Ditech Financial LLC. Allenlion: Customer Servlce Correspondencel F.O. Box
6172. Rapid City. SD 5770%172.

¢ Esqu¢: ll you have an escrow account you will receive a final escrow statement separatelyI and any balance of funds
will be transferred to the new servicer.

o lr_r_§u;g{r,';'.§; if CitiMortgage did not receive evidence of current insurance and purchased homeowners insurance on
your behalf (a|so known as lender-placed insurance), it will be cancelled effective with the transferdate. We
recommend that you immediately contact an insurance carrier or agent of your choice lo obtaln any insurance
coverage that you feel is appropriate to pmlect your interest in the properly and ensure that your property ls` covered
against |oss. Lender-placed insurance may be more expensive than obtaining coverage from a carrier or agent of your
choice You will receive information directly from Ditech Financial regarding their insurance requirements

v legr;_§nd,§t$,pmgpl: in January 2017, you will receive two separate year-end statements from CitiMortgage and
Ditech Financial reflecting the amounts of interest and taxes you paid lo each company in 2016. '

o H_QMQEMMMM: li you are currently participating in (or being considered for) a loan
modification program we will transierall your documentation lo the new servicer. Until the transfer date, you should
continue to make your payments (e.g., trial payments if attempting to qualify for a modification under the Home
Affordabla Moditica lion Program) lo CitiMortgage, After transfer you should make all payments to Ditech Frnancial
until such time that you are provided additional direction. Decisions regarding qualitimtion will be rrade by Ditech
Financial

lt you were offered hnancial counseling as a benth under HAMP and have nol yet accepted. you must accept by
scheduling an appointment with the Homeownership Preservalion Foundation (HPF) no later than May 16. 2016. `lhe
offer for financial counseling will expire if an appointment is not scheduled by this date. ¥ou may contact HPF directly
at 1-855-305-1544. Monday through Friday from 7:00 a.m. to 8100 p.m.l ET. if you previously accepted an offer for
financial counseling under HAMP and have not completed your counseling sessions you may continue to receive
dnancia| counseling with your existing counselor even after the loan is transferred

EXH!BET

 

Case 1:17-cv-01195-KBl\/|-LF Document 1-1 Filed 12/05/17 Page 26 of 35

`* Ea;sz’»anit=;to;s A|l information regarding other loss mitigation activities (forbearance agreementsl short sales,
relinaric`es and deedin-lieu ot foreclosure) will be forwarded to Ditech Financial for processing Piease be advised that
this transfer may extend the time needed for a final decision. \,..a

Thls transfer does not affect the status of any pending bankruptcy or foreclosure proceedings

CitiMortgage would like to extend a sincere 'thank you' ior the opportunity to serve you. We greatly appreciate the trust you
have placed in us.

Slncerely,
CitiMortgage, lnc.

For New Yorft Acoounis Only: You may lite complaints about the servicing of your mortgage loan by CitiMortgage, lnc. with the New Yorir State
Department of Financial Servioas. You may obtain further information from the New Yorl< State Department of Financial Services by calling the
Departmeni's Consumer Assistance Unit ai 1-800.342-3736 or by visiting the Department's website at wy_(_v_r,dt_>;:rh`;gp_v

The following Notice ls required by the Reai Estate Sottlemeni Procedures Act and Reguiation X

  

NOTlCE OF SERV|C|NG TRANSFER

The servicing of your mortgage loan is being transferred effective May 16. 2016. This means that alter this dale a new servicer will be
collecting your mortgage loan payments from you. Nothing else about your mortgage loan will change

CidMortgage. lnc. is now collecting your paymentsl CitiMortgage, lnc. will stop accepting payments received from you alter May 15. 2016.

Ditech Financial LLC will collect your payments going forward. Your new servicer will start accepting payments received from you on
May 16. 2016.

Send all payments due on or after May 16, 2016, to Ditech Financial LLC at this address: P.O. Box 7169. Pasadene. CA 91109-7169.

lt you have any questions lcr either your present servioer, CitiMortgage, lnc., or your new servicer. Ditech Financial LLC, about your mortgage _` v
loan or this transter. please contact them using the information beiow: """"

   

 

` ""‘ fi€.ltl.$.€.!!ll'»§£

 

CillMortg

age. lnc. Ditech Financial LLC
Atiention: Customer Research Team Allenlion: Customer Service Correspondence
P,O. Bo)i 6243 P.O. Box 6172
Sioux Faiis. SD 57117-6243 Rapid Ciiy, SD 57709-6172
t-BtiO-283-7915' l-855~297-6259

important note about insurance: if you have mortgage lite or disability insurance or any other type of optional insurance. the transfer of
servicing rights may affect your insurance in the following way; Ditech Financial LLC will not collect the premiums for yc-ur optional insurance
produci. The insurance provider will cancel the insurance coverage it they do not receive the premiums You should dr tha following to
maintain coverage: Contaci your insurance provider to make arrangements for you io remit your insurance premiums d rectly to the providor.

important note about optional producis: if you have other optional productsl the transfer of servicing rights may affect your products in the
following way: Ditech Financial LLC will not collect the fees for your optional products The service provider will cancel the product if they do nol
receive the fees. You should do the following io maintain coverage: Contaci your service provider to make arrangements for you to remit your
fees directly lo the-service provider.

Under Federai lawl during the SO-day period following the effective dale ol the transfer of the loan servicing, a loan payment received by your
old servicer on or before its due date may not be treated by the new servicer as late. and a late fee rnay not be imposed on you.

CitiMortgage, lnc. April 29. 2016

TO THE EXTENT YOUR OBL|GAT|ON HAS BEEN D|SCHARGED, OR lS SUBJECT TO AN AUTOMAT|C STAY OF
BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNlTED STATES BANKRUPTCY CODEl THlS NOT|CE iS FOR

COM PLlANCE AND |NFORMA`HONAL PURPOSES ONLY AND DOES NOT CONST|TUTE A DEMAND FOR PA¥MENT OR
AN A`l'l’EMPT TO COLLECT ANY SUCH OBL|GAT|ON.

"_._ 02015 OiirMongage. inc CitiMortgage. lnc. rs an equal housing ionder. Ciii. Nc Dasign, and Citr and Are Dosign aro registered service merits of
v41 "' v Ciiigroup lnc. ‘Caiis ore randome monitored and recorded to ensure quality sorvice.

-.-\-'~/ ,

-\'w"

""*~...e/

 

Case 1:17-cv-01195-KBl\/|-LF Document 1-1 Filed 12/05/17 Page 27 of 35

CitiMortgage C§ tl

5/ll./2016

LEONARD MARTINEZ
PO BOX 37062
ALBUQUERQUE, NM 87l 76-7062

Dear CitiMortgage Client(`s):

In the transfer of servicing letter dated April 29, 2016, we informed you that the servicing
of your mortgage loan would transfer from CitiMortgage, lnc. to Ditech Financial LLC.
However, your mortgage loan servicing will not transfer to Ditech Financial. and will
remain with CitiMortgage lf you have remitted a payment to Ditech Financial, it will be
forwarded to CitiMortgage for application No late charges will be assessed for your
May payment, nor will any negative information be reported to the credit bureau

Please be assured that no adjustments are needed to your loan and your account will not
be affected in any way by your receipt of our letter. You will receive a similar letter from
Ditech Financial explaining that your loan has not transferred We regret any
inconvenience this may have caused you.

To contact us visit our website at www.citimortgage.com or access our Automated
Account information Line, which is available 24 hours a day at 1~800-283-7918*.
Representatives are available Monday through Friday from 8:00 a.m. to 10:00 p.m., ET,
and Saturday from 8:00 a.m. to 6:00 p.m., ET. 'i`o access TTY scrvices, dial 711 from the
United States or dial l-866-280-2050 from Puerto Rico. thn you contact us, refer to
your mortgage account number, 640952997.

We appreciate your business and look forward to continuing to serve you in the future.

Sincerely,

Customer Service Department

TO THE EXTENT YOUR OBLlGATlON HAS BEEN DISCHARGED, OR lS
SUBJECT TO AN AUTOMATIC S'I`AY OF BANKRUPTCY ORDER UNDER
TlTLE ll OF THE UNITED STATES CODE, TH.[S NOT[CE lS FOR
COMPLIANCE AND lNFORMATlON/\L PURPOSES ONLY AND DOES NOT
CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMP'I` TO COLLECT
ANY SUCH` OBLIGATION.

This is an attempt to collect a debt and any information obtained will be used for that
purpose

   

Case 1:17-cv-01195-KBI\/|-LF Document 1-1 Filed 12/05/17 Page 28 of 35

   

Citilv‘lortgage. lnc.
P.O. Box 6243
Sioux Faiis, SD 57117-6243

July t, 2016

LEONARD MART|NEZ
PO BOX 37062
ALBUQUERQUE. NM 87176-7062

  

Current CitiMortgage Account Numbe
New Ditech Financial Account Numbe .

Dear CitiMortgage Client(s):

CitiMortgagel lnc. wants to take this opportunity to say “thank you". Effeotive Ju|y 18, 2016. the servicing of your mortgage loan will be transferred
from CitiMortgage to Ditech Financial LLC. This transfer does not affect the terms or conditions of your loan doo.iments other than the terms directly
related to who is servicing your loan. The transfer of loan servicing is a common practice in today's mortgage industry, and is no reflection on you
persona|iy.

Be|ow is a summary of information and tools that will assist you in making this transition as smooth as possible Also, tiie Servicing Transfer Nolice
required by federal law appears on page 2 of this |etter.

9

M__._Q_t_i_l_ii.|_ly;.___.F_i.§’tii_.;ien.ts'. Effective July 18. 2016, all payments should be sent to Ditech Financial Any payments we receive after this date will be

h ........

fon~arded to your new servicer. The payment address for Ditech Financial is:

Ditech Financial LLC
P.O. Box 7169
Pasadena, CA 91 t 09-7169

Autgmatlg Drafu'ng`" ;1_ |f your account is enrolled ln EZ Pay. this service will continue if your payment is automatically drafted through another
method or by a third part-yet bill-pay service, please notify them that~effective .luly 18, 2016, payments should be sent to Ditech Financial at the
address above and should reference your new Ditech Financial account number.

How to Reach U§: Prior to July 18, 2016. please call CitiMortgage at 1-800-283-7918* Monday through Friday. from 8:00 a.m, to 10:00 p.m.,
and Saturday from 8;00 a.m. to 6:00 p.m.l ET, if you have questions To access TTV services dial 711 from the United States or dial 1-866-
280-2050 from Puerto Rico. Vou may also write to us at CitiMortgage, lnc.l P.O. Box 6243, Sioux Fa||sl SD 57117-6243. Effective on July 18,
2016, please call Ditech Financial at 1-855297-6259. Monday through Friday from 7:00 a.m. to 8100 p.m., CT, and Saturday from 7:00 a.m. to
1:00 p.m., CT. ¥ou may also write to them at Ditech Financial LLC. Attention'. Customer Service Correspondence P.O. Box 6172, Rapid City,
SD 57709-6172.

`§Asp"r~o,yy: lt you have an escrow account you will receive a final escrow statement separately. and any balance of funds will be transferred to the
new servicer.

,lnsur,ance:, ii CitiMortgage did not receive evidence of current insurance and purchased homeowners insurance on your behalf (a|so known as
lender-placed insuranoe), it will be cancelled effective with the transfer date. We recommend that you immediately contact an insurance carrier
or agent of your choice to obtain any insurance coverage that you feel is appropriate to protect your interest in the property and ensure that your
property is covered against toss. Lender-placed insurance may be more expensive than obtaining coverage from a carrier or agent of your
choice. You will receive information directly from Ditech Financial regarding their insurance requirements

Year-§nd_§@teme_m: in January 2017, you will receive two separate year-end statements from CitiMortgage and Ditech Financial reflecting the
amounts of interest and taxes you paid to each company in 2016.

Home Affordat;le_lit_tgdincation P.roexai;n_: if you are currently participating in (or being considered for) a loan modification program, we will

transfer all your documentation to the new servicer. Until the transfer date, you should continue to make your payments (e.g.. trial payments if

attempting to qualify for a modification under the Home Affordab|e Modification Program) to CitiMortgage After transfer, you should make all

payments to Ditech Financial until such time that you are provided additional direction Declsions regarding qualification will be made by Ditech
inancia.

if you were offered financial counseling as a benefit under HAMP and have not yet accepted you must accept by schedu|i g an a poinlment
with the Homeownership Preservation Foundation (HPF) no later than July 17, 2016. The offer for financial counseli " '
appointment is not scheduled by this date. You may contact HPF directly at 1-855-306-1544. Monday through Frida

   
  

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 29 of 35

p.m., ET. if you previously accepted an offer for financial counseling under HAMP and have not completed your c)unseling sessions, you may
continue to receive financial counseling with your existing counselor even after the loan is transferred

 

ns_: A|l information regarding other loss mitigation activities (forbearance agreements. short sales re inances and deed- -i-n -|ieu of
will be forwarded to Ditech Financial for processing Please be advised that this transfer may extend the lime needed for a final

 

decision.
This transfer does not affect the status of any pending bankruptcy or foreclosure proceedings
CitiMortgage would like to extend a sincere "thank you" for the opportunity to serve you. We greatly appreciate the trust you have placed in us.

Sincerely.
CitiMortgage, lnc.

For New York Accounts Only: You may file complaints about the servicing of your mortg age loan by CitiMortgage, lnc. with the Neiv York State Department of
Financial Services. You may obtain further information from the New York State Department of Financial Services by calling the Department's Consumer Assistance
Unlt at 1-800-342-3736 or by visiting the Departmenl`s webs|te al wwW_iJ‘$nl/QOV
The following Notlce ls required by the Real Estate Settlement Procedures Act and Regulatiori X
NOT|CE OF SERVlClNG TRANSFER

The servicing of your mortgage loan is being transferred effective July 18, 2016. This means that after this date a new servicer will be collecting your mortgage loan
payments from you. Nothing else about your mortgage loan will change.

CitiMortgagel lnc. is now collecting your payments CitiMortgage lnc. will stop accepting payments received from you after July 17l 2016.
Ditech Financial LLC will collect your payments going forwardl Your new servicer will start accepting payments received from you on July 18, 2016.
Send all payments due on or after July 18, 2016, to Ditech Financial LLC at this address: P.O. Box 7169. Pasadena, CA 91109-7159.

if you have any questions for either your present servicer. CitiMortgage, inc., or your new servicer. Ditech Financial LLC, about your mortgage loan or this transfer.
please contact them using the information below:

 

. ___ _ tl_ev_t.§_er.v.iser!

Citi engage lnc. Ditech Financial LLC

Attention: Customer Research Team Attention: Customer Servlce Correspondence

P.O. Box 5243 P.O. Box 6172

Sioux Falls. SD 57117-6243 Raptd City. SD 577096172

1-800-283-7918‘ 1-855~297 6259
important note about insurance: if you have mortgage tile or disability insurance or any other type of optional insurancel the transfer of servicing rights may affect
your insurance in the following way: Ditech Financial LLC will not collect the premiums for your optional insurance product The ins arance provider will cancel the
insurance coverage if they do not receive the premiums You should do the following to maintain coverage: Contact your insurance provider to make arrangements
for you to remit your insurance premiums directly to the provider
important note about optional products: ll you have other optional products. the transfer of servicing rights may affect your products in the following way: Ditech
Financial LLC will not collect the fees for your optional products. The service provider will cancel the product if they do not rece1ve 'he fees. You should do the
following to maintain coverage: Contact your service provider to make arrangements for you to remit your fees directly to the service provider.
Under Federal lawl during the SOday period following the effective date ol the transfer of the loan servicing a loan payment received by your old servicer on or
before its due dale may not be treated by the new servicer as latel and a late fee may not be imposed on you.
CitiMortgage, lnc. July 1, 2016
TO THE EXT ENT YOUR OBLlGATlON HAS BEEN DlSCHARGED OR lS SUBJ ECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TlTLE 11 DF THE
UN|TED STATES CODE, TH|S NOTICE iS FOR COMPL|ANCE AND lNFORMAT|ONAL PURPOSES ONLY AND DOES NOT CONSTfoTE A DEMAND FOR PAYMENT
OR AN ATTEMPT TO COLLECT ANY SUCH OBLlGATION "

€'-€-2016 CitiMortgage lnc. CitiMortgage lnc. ls an equal housing lender Citi. Arc Design, and Citi and Arc Design are registered sen'ice marks of Citigroup lnc. 'Cal|s are
randomly monitored and recorded to ensure quality service

 

Case 1:17-cv-01195-KBl\/l-LF Document 1-1 Filed 12/05/17 Page 30 of 35

§ di’te(>ltQh

a Walter company

 

i>o sex em Ditech irritant-iu Lr_c
w rapid r:rty, so 577ti9-6i72 Piwnc i_sss~zor-szsr)
tax i-sss-sro-ooi<)

www.ditcch_com

+ trustees oooooi.i,?s oscTRe oosi=sai. i.iti rPa) rPa> AUQUSlOl- 2015

LEONAFlD MART|NEZ
PO BOX 37062
ALBUQUEROUE NM 87176-7062

i'l'itiillll'li"'ii"li"ill"ll"lllilll'|l"|'"ill'iii'"i"i

CitiMortgage inc Account Numbe:
Ditech Financial LLC' ("Ditech") New Account Number

  

Dear Leonard l\/lartinezt

Welcome to Ditech. The servicing of your mortgage loan - that is, the right to collect loan payments from you ~- is being
transferred from CitiMortgage lnc. to Ditech effective July 18, 2016. The servicing transfer does not affect any terms or
condition of your current mortgage loan, other than the terms directly related to the servicing of your loan. You can mail your
payments directly to Ditech at the following address: Ditech Financial LLC, PO Box 7169, Pasadena, CA 91109-7169.

Ditech will begin posting payments to your account on or about July 25. 2016. if your payment was received by Ditech or
CitiMortgage lnc. prior to the posting date, we will apply your payment as of the day that it was received and no late fee will be
assessed to your account".

 

W You should be receiving your first statement from Ditech by mail the week of August 04, 2016. if you have any questions about
the transfer of your mortgage loan servicing to Ditechl we encourage you to visit:

wwoueshsnnyweisoma

There you can register to securely access your account on|ine, make a payment, establish a recurring electronic mortgage loan
payment and obtain answers to frequently asked questions

We are pleased to have you as a new customer. included with this mailing is more detailed information about this transfer and
our services. if you need information regarding your account you can:

t) Visit our website at www.diteoh_com
2) Call us toll-free at 1-855-297-6259
3) Mail your inquiry to: Ditech Customer Service Dept, PO Box 6172, Fiapid City, SD 57709 -6172.

This communication is from a debt collector_ it is an attempt to collect a debt, and any information obtained will be used for that
purpose.

‘Please note; |f you are currently participating in an automated payment plan with CitiMortgage incl your payments will be
continuing with Ditech. As oi July 18. 2016. Ditech will begin deducting your payments from your bank account ¥our bank
transaction description will reflect this change and indicate that your payment is now being made to Dltech. You may experience
a one-time delay in the deduction of your first payment as we install your account data onto Ditech`s system No tate charge will
be assessed and we will deduct and post your payment effective on or before your due date_

W EXHlB|T`

 

FlESPA Welcome Cover Letterl 06/05/2015 t_TFi~t 15
SCOOES-OOE

 

 

Case 1:17-cv-01195-KBf\/|-LF Document 1-1 Filed 12/05/17 Page 31 of 35

.NQH§“§M¢R£<§§.EXL§$M§»LB&M§E.§B

The servicing of your mortgage loan is being transferred effective July 18, 20t6. This means that after this date, a new servicer
will be collecting your mortgage loan payments from you. Nothing else about your mortgage loan will change.

CitiMortgage inc is now collecting your payments. CitiMortgage inc will stop accepting payments received from you after July 17l
2016.

Ditech Financial LLC (“Ditech") Will collect your payments going forward. Your new servicer will stan accepting payments received
from you on Juiy18.2016.

Send all payments due on or after July 18, 2016 to thech at this address:
Ditech Financial LLC
PO Box 7169
Pasadena, CA 91109-7169

if you have any questions for either your present servicerl CitiMortgage lnc. or your new servicerl Ditech, about your mortgage
loan or this transfer. please contact them using the information below:

Current Servicer: New Servicer:
CitiMortgage |nc Ditech

Attn: Customer Research Team Customer Service
1-800-283-7918 1-855-297-6259

PO Box 6243 PO Box 6172

Siou)< Fa|ls, SD 57117-6243 Rapid City, SD 57709-6172

important note about insurance: if you have mortgage life or disability insurance or any other type of optional lnsurance. the
transfer of servicing rights may affect your insurance in the following way:

The transfer of servicing will affect the terms of or the continued availability of any mortgage life or disability insurance or Other
types of optional insurance products

You should do the following fo maintain coverage:
You will need to contact the company providing the product directly for continued coverage or enrollment.
Under Federa| faw, during the 60-day period following the effective date of the transfer of the loan servicing, a loan payment

received by your old servicer on or before its due date may not be treated by the new servicer as late, and a late fee may not be
imposed on you.

_ it h A\MzustOlrQOiG
New Servicer Dat'e

This communication is from a debt coilector, it is an attempt to collect a debt, and any information obtained will be used for that
purpose

Ditech has designated the following address where mortgage loan customers must send any Qualified
Written Request, Notfce of Error or Ftequest for |nformatfon: PO Box 6176, Hapid City, SD 57709-6176

Fair and Accurate Credit Transactions Act Notice - We may report information about your account to credit bureaus.
Late paymentsl missed payments. or other defaults on your account may be reflected fn your credit report.

FiESPA Welcome Cover Letter, 06/05/2015 L`l'Fl-i 15

Case 1:17-cv-01195-KBf\/|-LF Document 1-1 Filed 12/05/17 Page 32 of 35

§ d '_t h Ditech Financial l.LC

' l ec s PO Box6172
iWafturl:umpany Rapld City, SD 57709"6172

November10. 2016

Leonard Martinez

PO Box 37062

A|buquerquel NiVl 87176-7062

Re: Ditech Financial LLC ("_Ditech")
AccountNumbe

     

Dear Leonard Nlartinez:

Thank you for contacting us about your mortgage ¥ou were evaluated for mortgage payment assistance based
upon the eligibility requirements of Freddie Mac, the owner of your mortgage account We have determined that
you are ineligible for a mortgage modification due to the following eligibility requirements:

¢ After we offered you an account modification, you notified us that you`did not wish to accept the offer.

You may be eligible for other workout options offered by Ditech because you are not eligible for the account
modification Some of the programs that may be available include:

. Short Safe ~-A short sale allows you to avoid foreclosure by selling your property and paying off your
account |f you sell your property for less than the total amount owed on the account Ditech may
accept that amount as full satisfaction of your account. Taking this action will not save your home,
but Ditech may pay you cash upon completion of the sale of your home

v Deed-ln-Lieu of Foreclosure - A deed-in-lieu of foreclosure would allow you to voluntarily deed your
property to Ditech in order to satisfy the account Taking this action will not save your home, but
Ditech may pay you cash upon completion of the Program.

lt is your responsibility to contact Ditech to discuss your above-referenced account lf you wish to explore your
options or have any other questions, please contact your account representative ¥our assigned account
representative is Amy H at 4_ extension 33265.

Our credit decision may have been based in part upon information obtained in a report from the below-referenced
consumer reporting agency listed You have the right under the Fair Credit Reporting Act to obtain a free copy of
your credit report You must request your free copy within 60 days of the date of this letter. You also have the
right to dispute the information contained in your credit report with the credit reporting agencyl The credit
reporting agency did not make the decision regarding your ineligibility and is not able to provide you with specific
reasons as to why you are not eligible for a loan modification.

Credit Reporting Agency: TransUnion

Reporting Agency Address: 2 Baldwin Placel P.O. Box 1000
Chester, PA 19022

Toll Free Number: 800-888-4213

Web Address; www.transunion.com
We also obtained your credit score from this consumer reporting agency and used it in making our credit decision.
Your credit score is a number that reflects the information in your consumer report Your credit score can changel
depending on how the information in your consumer report changes
¥our credit score:

Date:

Scores range from a low of 300 to a high of 850

 

Gcncric Modification Denial & ineligible Lcttcr, i2/28/2015 " LTR-479

Case 1:17-cv-01195-KBf\/|-LF Document 1-1 Filed 12/05/1___7 Page 33 of 35

Ke_v factors that adversely affected your credit score:

N/A

lf you have any questions regarding your credit score, you should contact TransUnion at:

Adclress: 2 Baldwin Place, P.O. Box 1000 Chester, PA 19022 Telephone number: 800-888-4213

The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the
basis of race, color, religionl national origin, sex, marital statusl age (provided the applicant has the capacity to
enter into a binding contract); because all or part of the applicant's income derives from any public assistance
program; or because the applicant has in good faith exercised any right under the Consumer Credit Protection
Act The federal agency that administers compliance with this law concerning this creditor is the Federa| Trade
Commission, which can be contacted at;

Federal T.rade Commission
Equal Credit Opportunity
Washingtonl DC 20580

Counse|ing is available at no charge from HUD-approved counselors through the HOPE Hot|ine'. 1-888~995-
HOPE. This housing counseling on-demand service is available 24-hours a day/7-days a week in Spanish and
Eng|ish (other languages available on request). You may also visit http:I/www.hud.gov/offices/hsg/sfh/hcc/fc/.

Ditech has designated the following address where mortgage loan customers must send any Oualified Written
Request, Notice of Error or Request for lnformation: PO Box 6176, Rapid City, SD 57709-6176.

ancere|y,

Ditech

1~877-624-8026

Monday through Friday 7am - Spm and Saturday 7am ~ 1prn CST

This communication is from a debt collector. it is an attempt to collect a debt, and any information obtained will
be used for that purpose

Gcneric Modification Dcniai & lneligible i,cttcr. l2/28/2015 LTR-479

Case 1:17-cv-01195-KBf\/|-LF Document 1-1 Filed 12/05/17 Page 34 of 35

Cover Letter

Leonard lVlartinez
PO Box 37062
A|buquerque NM 87176-7062

Case 1:17-cv-01195-KBf\/|-LF Document 1-1 Filed 12/05/17 Page 35 of 35
FlLED lN MY OFF|CE
DlSTR|CT COURT CLERK
10/25/2017 5:00:32 PM
James A. Noel
Catherine Chavez

STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL DISTRICT COURT
NO. D-ZOZ-CV-ZO 1 7- D-202-CV-2017-07661

LEONARD MARTINEZ,
Plaintiff,

V.

CITIMORTAGE,H\IC, a successor in interest

By merger to ABN AMRO Mortgage Group, Inc.,
DITECH FINANCIAL, LLC., and SHELLPOINT
MORTGAGE SERVICING,

CERTIFICATION REGARDING ARBITRATION
UNDER LOCAL RULE LR2-603

Comes now Plaintiff Leonard Martinez and certifies that:

This case is subject to referral to arbitration under Local Rule LR2-603. No party
seeks relief other than a money judgment and no party seeks an award in excess of
$25,000.00, exclusive of punitive damages, interest costs and attomey’s fees.

X This case is not subject to referral to arbitration under Local Rule LR2-603 because
at least one party seeks relief other than a money judgment

l further certify that the pleadings in this case are not closed, pursuant to the meaning under
the Guidelines of Local Rule LR2-603

Respectfully Submitted7

ERIC ORTIZ & ASSOCIATES

/s/ Err`c N Ortr`z, Esg.

En`c N. Ortiz, Esq.

510 Slate Ave. NW
Albuquerque, NM 87102
Telephone (505) 720-0070
Fax: (866)897-9491
Attorney for Plal`ntr`jj'

